             Case 2:19-cv-01491-RAJ-JRC Document 46 Filed 09/24/20 Page 1 of 2




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                                 UNITED STATES DISTRICT COURT
 8
                                WESTERN DISTRICT OF WASHINGTON
                                          AT TACOMA
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10         HOLLY CARBON, et al.,
                                                              CASE NO. 2:19-cv-01491-RAJ-JRC
11                              Plaintiffs,
                                                              ORDER AMENDING PRETRIAL
12              v.                                            SCHEDULING ORDER
13         SEATTLE REPRODUCTIVE MEDICINE
           INC PS, et al.,
14
                                Defendants.
15

16           This matter is before the Court on the parties’ stipulated motion to extend the deadlines

17   related to expert disclosures. See Dkt. 45, at 1. Based on the parties’ stipulation, the Court finds

18   good cause to grant the request. The pretrial scheduling order (Dkt. 24) is amended as follows:

19                                                                     NEW DEADLINE
               EVENT
20             Plaintiff’s expert disclosures under Federal Rule of October 19, 2020
               Civil Procedure (“Fed. R. Civ. P”) 26(a)(2)
21
               Defendant’s expert disclosures under Fed. R. Civ. P. November 2, 2020
22             26(a)(2)
               Rebuttal expert disclosures                          November 16, 2020
23   ///

24

     ORDER AMENDING PRETRIAL SCHEDULING
     ORDER - 1
          Case 2:19-cv-01491-RAJ-JRC Document 46 Filed 09/24/20 Page 2 of 2




 1        Otherwise, the pretrial scheduling order as amended remains in effect.

 2        Dated this 24th day of September, 2020.

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 5                                                    A
                                                      J. Richard Creatura
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                                                      United States Magistrate Judge
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     ORDER AMENDING PRETRIAL SCHEDULING
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